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   11
   12                      UNITED STATES DISTRICT COURT
   13                     CENTRAL DISTRICT OF CALIFORNIA
   14
   15 In re: Hyundai and Kia Engine             CASE NO. 8:17-cv-00838-JLS-JDE
   16 Litigation                                Member Cases:
                                                8:17-cv-01365-JLS-JDE
   17                                           8:17-cv-02208-JLS-JDE
                                                2:18-cv-05255-JLS-JDE
   18                                           8:18-cv-00622-JLS-JDE
   19                                           Related Case:
                                                8:18-cv-02223-JLS-JDE
   20
                                                DEFENDANTS’ RESPONSE TO
   21                                           NON-PARTY KNIGHT MOTORS,
                                                LP’S OBJECTIONS TO NOTICE
   22                                           REGARDING EXCLUSION OF
                                                COMMERCIAL ENTITIES
   23
                                                The Hon. Josephine L. Staton
   24                                           Courtroom: 10A
   25                                           Trial Date: None Set
   26
   27
   28
                                                               Case No. 8:17-cv-00838-JLS-JDE
                            DEFENDANTS’ RESPONSE TO NON-PARTY KNIGHT MOTORS’ OBJECTION
                                            REGARDING EXCLUSION OF COMMERCIAL ENTITIES
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    1           Despite not being a party or a class member, Knight Motors, LP purports to
    2 object to the proposed notice to commercial entities and owners informing them of
    3 their exclusion from the Settlement Class. (Dkt. 205.) The Court should strike
    4 Knight Motors’ objection for lack of standing or overrule the objection on the
    5 merits.
    6 I.        KNIGHT MOTORS LACKS STANDING TO OBJECT IN THIS CASE
    7           Knight Motors is not a party to this action nor a class member. It is well-
    8 settled that only class members possess standing to object to a settlement. See Kim
    9 v. Tinder, Inc., No. 18 CV 3093 JFW (ASX), 2019 WL 3064464, at *1 (C.D. Cal.
   10 May 24, 2019) (“In a class action lawsuit, an objector is a non-named class
   11 member.” (emphasis added)); Lozano v. AT&T Wireless Servs., Inc., No.
   12 CV020090CASAJWX, 2010 WL 11515433, at *5 (C.D. Cal. Nov. 22, 2010)
   13 (finding non-class members lacked standing to object). As the Court acknowledged
   14 in its final approval order, certain commercial entities such as Knight Motors are
   15 now excluded from the Class. (Dkt. 202 at 7, 22.) Thus, Knight Motors has no
   16 standing to object to any aspect of this settlement.
   17 II.       THE COMMERCIAL NOTICE IS NOT MISLEADING
   18           In all events, Knight Motors’ bases for objecting to the proposed notice are
   19 groundless. Knight Motors contends the exclusion notice “improperly suggests
   20 and/or implies that [defendants] do not have an affirmative duty to remedy the
   21 vehicles” by omitting references to the Safety Act. (Dkt. 205 at 3.) Yet Knight
   22 Motors acknowledges that any obligations Hyundai and Kia owe under the Safety
   23 Act are “independent of any Class Action Settlement.”1 (See id.) Knight Motors
   24 unsurprisingly cannot provide authority for the premise that Hyundai and Kia are
   25 obligated to inform those who are not in the class about matters outside of and
   26
            Defendants also of course dispute Knight Motors’ underlying assumption that
            1
   27 these non-class  members necessarily have a defect in their respective vehicles that
   28 might trigger a duties under the Safety Act.
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    1 wholly unrelated to the settlement. The case law is clear that due process does not
    2 require providing even class members with extraneous information in a class notice.
    3 See Roes, 1-2 v. SFBSC Mgmt., LLC, 944 F.3d 1035, 1044–45 (9th Cir. 2019)
    4 (affirming district court did not err in rejecting objectors’ proposal to include
    5 information about related cases in settlement notice); In re Online DVD-Rental
    6 Antitrust Litig., 779 F.3d 934, 946 (9th Cir. 2015) (quoting Lane v. Facebook, Inc.,
    7 696 F.3d 811, 826 (9th Cir. 2012) (stating that notice need only “describe[] ‘the
    8 terms of the settlement in sufficient detail to alert those with adverse viewpoints to
    9 investigate and to come forward and be heard’”) (emphasis added); Rodriguez v. W.
   10 Publ’g Corp., 563 F.3d 948, 962–63 (9th Cir. 2009) (notice about information
   11 beyond those specified in Rule 23 not required). The proposed exclusion notice
   12 fully and fairly fulfills its intended purpose: it informs certain businesses that
   13 submitted claims that the Settlement Agreement has been amended and no longer
   14 binds them. (See Dkts. 204-1, 204-2.) It would not provide additional clarity to
   15 incorporate Knight Motors’ proposed revisions—in fact, it would likely foment
   16 confusion by conflating the settlement with unrelated issues. Accordingly, the
   17 Court should strike or overrule Knight Motors’ objection.
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   19
        DATED: June 2, 2021                 QUINN EMANUEL URQUHART &
   20                                       SULLIVAN, LLP
   21
   22                                         By /s/ Shon Morgan
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   24
                                                America, and Kia Motors Corporation.
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                                                -2-                Case No. 8:17-cv-00838-JLS-JDE
                                DEFENDANTS’ RESPONSE TO NON-PARTY KNIGHT MOTORS’ OBJECTION
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